8:13-cr-00396-LSC-MDN       Doc # 114     Filed: 01/14/15     Page 1 of 2 - Page ID # 254




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )           CASE NO. 8:13CR396
                                                )
      Plaintiff,                                )
                                                )
             vs.                                )        TENTATIVE FINDINGS
                                                )
DONALD JAMES WILSON,                            )
                                                )
      Defendant.                                )

      The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”) and the Defendant’s objections and supporting brief (Filing Nos. 109

and 110). The government adopted the PSR (Filing No. 104) and filed a Statement of

Position and Request to Present Evidence and Testimony at Sentencing (Filing No. 113).

The Defendant has filed a motion for variance and supporting brief (Filing Nos. 108 and

110). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

      Accordingly,

      IT IS ORDERED:

      1.     The Defendant’s Objection to the Revised Presentence Report (Filing No.

109) will be heard at the sentencing hearing;

      2.     The government’s request to present evidence and testimony during the

sentencing hearing is granted;

      3.     The Court intends to adopt the PSR in all other respects;

      4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion
8:13-cr-00396-LSC-MDN         Doc # 114     Filed: 01/14/15    Page 2 of 2 - Page ID # 255




challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 4 of this Order,

these tentative findings are final;

       6.     The Defendant’s Motion for Variance (Filing No. 108) will be heard at

sentencing; and

       7.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 14th day of January, 2015.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




                                               2
